Case 2:21-cv-00567-DBB-JCB Document 84 Filed 02/14/23 PageID.908 Page 1 of 2




                               THE UNITED STATES DISTRICT COURT
                                             DISTRICT OF UTAH


GREAT BOWERY, d/b/a TRUNK ARCHIVE

             Plaintiff,                                     ORDER GRANTING STIPULATIED
                                                            MOTION TO AMEND SCHEDULING
    v.                                                                 ORDER

                                                               Case No. 2:21-cv-00567-DBB-JCB
    BEST LITTLE SITES, d/b/a
    www.comicbookmovie.com; NATHAN                                 District Judge David Barlow
    BEST; MARK CASSIDY; JOSHUA
    WILDING; and DOES 1 through 10.                            Magistrate Judge Jared C. Bennett

               Defendants.


            Based on the Parties’ Stipulated Motion to Amend the Scheduling Order 1, the Court hereby

GRANTS the Motion and orders the amended schedule set forth below:

    Event                                                                                    Deadline
    Close of fact discovery                                                                  06/09/23
    Final date for supplementation of disclosures and discovery under Rule 26(e)             07/07/23
    Party bearing burden of proof                                                            07/07/23
    Counter disclosures                                                                      08/04/23
    Party(ies) bearing burden of proof                                                       07/07/23
    Counter disclosures                                                                      08/04/23
    Last day for expert discovery                                                            09/01/23
    Last day for filing dispositive or potentially dispositive motions                       09/22/23
    Deadline for filing partial or complete motions to exclude expert testimony              09/22/23
    If the parties do not intend to file dispositive or potentially dispositive motions, a   09/27/23
    scheduling conference will be held to set a trial date                                   3:00pm

1
    ECF No. 83
Case 2:21-cv-00567-DBB-JCB Document 84 Filed 02/14/23 PageID.909 Page 2 of 2

 TRIAL AND PREPARATION FOR TRIAL
 After the court issues an order on the summary
 judgment motion(s), if there is anything left to litigate,
 the court will set a scheduling hearing to set a trial
 date and to ask the parties if they want to mediate. If
 the schedule set forth herein is not extended, the
 parties can generally expect that trial will be set
 sometime during the second quarter of 2024.


 OTHER MATTERS
 Parties should fully brief all Motions in Limine well in advance of the pretrial
 conference.

IT IS SO ORDERED.

DATED this 14th day of February 2023.

                                                              BY THE COURT:




                                                              JARED C. BENNETT
                                                              United States Magistrate Judge
